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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                               _______________

                                     No. 17-3027
                                   _______________

                                   BRANDY KANE,

                                               Appellant

                                          v.

  SHAWN BARGER, in his Individual Capacity as a Police Officer for the Borough of
                                 Coraopolis
                              ______________

                    On Appeal from the United States District Court
                       for the Western District of Pennsylvania
                                  (No. 2-15-cv-00846)
                      District Judge: Honorable Mark R. Hornak
                                   ______________

                     Submitted Under Third Circuit L.A.R. 34.1(a)
                                   June 12, 2018

         Before: CHAGARES, GREENBERG, and FUENTES, Circuit Judges
                             ______________

                                     JUDGMENT
                                   ______________

      This cause came on to be heard on the record from the United States District Court

for the Western District of Pennsylvania and was submitted pursuant to Third Circuit

L.A.R. 34.1(a) on June 12, 2018.

      On consideration whereof, it is now hereby ORDERED and ADJUDGED by this

Court that the judgment of the District Court entered on August 17, 2017 is REVERSED

and REMANDED. All of the above in accordance with the opinion of this Court.
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                                 Attest:


                                 s/ Patricia S. Dodszuweit
                                 Clerk



   Dated: August 22, 2018




                              Certified as a true copy and issued in lieu
                              of a formal mandate on September 26, 2018


                             Teste:
                             Clerk, U.S. Court of Appeals for the Third Circuit




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